Case 2:18-cr-00013-JDL Document 130 Filed 05/26/20 Page 1 of 20        PageID #: 524




                        UNITED STATES DISTRICT COURT
                             DISTRICT OF MAINE

UNITED STATES OF AMERICA               )
                                       )
                                       )
                   v.                  ) 2:18-cr-00013-JDL
                                       )
ABIJAH WILLIAMS,                       )
                                       )
             Defendant.                )


   ORDER ON DEFENDANT’S MOTION TO WITHDRAW GUILTY PLEA


       On January 31, 2019, Abijah Williams pleaded guilty to one count of possession

with intent to distribute fentanyl and cocaine base under 21 U.S.C. § 841 (ECF No.

64).   He now moves to withdraw his guilty plea (ECF No. 80). After careful

consideration, I conclude that Williams has failed to meet his burden of

demonstrating a “fair and just reason”—as the First Circuit has interpreted that

phrase—to withdraw his guilty plea, and I deny the motion.

                           I. PROCEDURAL HISTORY

       The procedural history of this case indicates that Williams had difficulty

deciding whether to plead guilty or to proceed to trial. On January 26, 2018, the

Government indicted Williams on one count of possession with intent to distribute

fentanyl and cocaine base.    On February 1, the Court appointed Attorney Amy

Fairfield to represent Williams, and Williams entered an initial plea of not guilty.

Over the next several months, Attorney Fairfield requested multiple continuances

and an extension of the deadline for filing pretrial motions on Williams’ behalf, and
Case 2:18-cr-00013-JDL Document 130 Filed 05/26/20 Page 2 of 20           PageID #: 525




the Court granted each request. Attorney Corey McKenna, who was then employed

at Attorney Fairfield’s law firm, shared responsibilities on Williams’ case.

      Nearly one year after Williams entered his initial plea of not guilty, a change

of plea hearing was scheduled. Shortly before the hearing date, Attorney Fairfield

moved to withdraw as counsel for Williams at his request. I held a hearing on

Attorney Fairfield’s motion to withdraw as counsel on January 3, 2019, and denied

the motion. A change of plea hearing was subsequently held on January 25. During

the hearing, Williams decided not to plead guilty, and the hearing was continued at

his request. A second change of plea hearing was held before Judge George Z. Singal

on January 31. At the January 31 hearing, Williams pleaded guilty to the sole count

of the indictment, and the Court accepted his plea.

      On March 26, Attorney Fairfield and Attorney McKenna withdrew as counsel

for Williams, and Attorney Joel Vincent was appointed as substitute counsel.

Williams represented that he would seek to withdraw his guilty plea. On June 18,

Attorney Vincent filed a formal motion to withdraw Williams’ guilty plea. The motion

asserts that Williams’ relationship with his prior counsel was “difficult” and that,

despite Williams’ “ongoing insistence,” Attorneys Fairfield and McKenna had failed

to file a motion to suppress the evidence seized at the traffic stop that resulted in his

arrest. ECF No. 80 at 3. The motion further asserts that Williams’ prior attorneys

did not inform him of the deadline to file a motion to suppress and that they only

showed him certain discovery surrounding the traffic stop after the deadline had

passed.



                                           2
Case 2:18-cr-00013-JDL Document 130 Filed 05/26/20 Page 3 of 20           PageID #: 526




        Evidentiary hearings on Williams’ motion to withdraw his guilty plea were

held on November 18 and December 5, 2019. Williams testified at both hearings.

Because Williams voluntarily waived the attorney-client privilege on all issues

relevant to the motion, Attorneys McKenna and Fairfield testified as well. The

evidence at the hearings centered on the communications between Williams and his

attorneys related to his stop and arrest, which Williams contends should have been

the subject of a motion to suppress, and the attorneys’ reasons for not filing such a

motion.

                          II. FACTUAL BACKGROUND

        The facts surrounding Williams’ stop and arrest are not in serious dispute.

Neither party called the officer who performed the stop, Maine State Trooper

Matthew Williams, as a witness, but the trooper’s written report was received into

evidence.   In all important respects, the trooper’s report is consistent with the

testimony by Williams and his former attorneys regarding the stop, arrest, and

accompanying searches.

        The trooper, an experienced member of the Maine State Police, was traveling

northbound on I-95 in York shortly before 9 p.m. on December 19, 2017. He twice

observed a gray Infiniti sedan following other vehicles too closely, and he determined

by radar that the vehicle was operating at 79 miles per hour in a 70-miles-per-hour

zone.

        He followed the vehicle without activating his lights or siren. The vehicle

abruptly exited in Wells, and the trooper continued to follow it through the toll plaza.



                                           3
Case 2:18-cr-00013-JDL Document 130 Filed 05/26/20 Page 4 of 20                        PageID #: 527




The vehicle then quickly pulled into the toll plaza’s employee parking lot. The trooper

activated his cruiser’s blue lights and approached the stopped vehicle. He obtained

the driver’s licenses of the operator, Abijah Williams, and a female passenger.

Williams and the passenger told the trooper that they were lost. Williams stated that

he was trying to go to Augusta, but then claimed he was going to Skowhegan to meet

friends. When asked who his friends were, Williams struggled to think of their

names. He appeared rigid and tense to the trooper, and his hands were shaking.

Based on Williams’ abrupt exit from I-95, his nervous demeanor, and the vague and

inconsistent responses that he and his passenger gave when asked where they were

going, the trooper suspected that the two were engaged in criminal activity. The

trooper asked Williams to stand outside the vehicle and called for a drug-sniffing dog.

        The trooper also ran Williams’ information in his computer system and learned

that Williams was on parole 1 in Connecticut for attempted homicide, and that

Williams was subject to a Connecticut protective order 2 in which the female

passenger was the named protected person. The information available to the trooper

did not specify what restrictions were included in the protective order. However,

based on his experience, the trooper surmised that the protective order prohibited

Williams from having contact with the passenger. Both Williams and the passenger



 1The trooper’s report and the testimony at the hearing alternately refer to “probation” and “parole.”
The distinction does not change the analysis here, so for consistency, I use the term “parole.”

 2 “Court orders protecting one individual from another are variously referred to as protection orders
or protective orders.” United States v. Perkins, 421 F. Supp. 2d 209, 211 n.3 (D. Me. 2006). The parties
have used the terms interchangeably. I use the term “protective order” in keeping with the
terminology used by Connecticut statutes and the Connecticut Supreme Court. See, e.g., State v.
Fernando A., 981 A.2d 427 (Conn. 2009).

                                                   4
Case 2:18-cr-00013-JDL Document 130 Filed 05/26/20 Page 5 of 20           PageID #: 528




told the trooper that the protective order had been rescinded and that they were

permitted to have contact. Nonetheless, the trooper arrested Williams for violating

the protective order, handcuffed him, and placed him in the back of the police cruiser.

      Following his arrest, Williams told the trooper that his parole officer’s phone

number was in his phone, which was in the vehicle Williams had been driving. He

gave the trooper permission to retrieve the phone from the driver’s side of the car.

The trooper returned to the vehicle and opened the driver’s-side door to look for the

phone. He then saw a small, folded envelope in plain sight on the driver’s-side

floorboard. The envelope bore a blue lightbulb ink-stamp. Based on his training,

education, and experience, the trooper recognized the envelope as packaging for a ½-

gram dose of heroin. The trooper opened the envelope and observed that it contained

a brown substance, which he believed was heroin.

      The police dog and its handler then arrived and conducted a dog sniff around

the vehicle. The dog alerted to the odor of narcotics on the vehicle. At that point, the

trooper searched the vehicle and discovered a box containing 400 envelopes of heroin

and 45 grams of cocaine base in the engine compartment. Additionally, a sandwich

bag containing heroin was found on the ground near another trooper’s cruiser.

      Both Williams and the passenger were transported to the Troop G Barracks in

Portland. After waiving her Miranda rights, the passenger explained that Williams

told her the following: that Williams knew that the trooper had been following him

on the highway and that Williams believed he was about to be pulled over. She also

stated that Williams had given her the sandwich bag containing heroin and told her



                                           5
Case 2:18-cr-00013-JDL Document 130 Filed 05/26/20 Page 6 of 20           PageID #: 529




to hide it, which led her to throw the bag under the police cruiser. She also told the

trooper that she knew Williams was trafficking drugs and that she had made several

trips with him to do so. She explained that Williams had been physically abusing her

and showed the trooper several bruises and cuts on her body.

                             III. LEGAL STANDARD
      “A defendant does not have an absolute right to withdraw a guilty plea.”

United States v. Gates, 709 F.3d 58, 68 (1st Cir. 2013) (citing United States v. Negrón-

Narváez, 403 F.3d 33, 36 (1st Cir. 2005)). However, a defendant may withdraw a

guilty plea prior to sentencing, even if the court has already accepted the guilty plea,

if he or she can show a “fair and just reason” for requesting the withdrawal. Fed. R.

Crim. P. 11(d)(2)(B). The defendant bears the burden of making this showing. See

United States v. Caramadre, 807 F.3d 359, 366 (1st Cir. 2015).

      To determine whether a “fair and just reason” justifies the withdrawal of a

guilty plea, courts examine five factors: (1) “whether the plea was knowing, voluntary

and intelligent within the meaning of Rule 11,” (2) whether “the proffered reason for

withdrawing the plea” is plausible, (3) whether the request to withdraw the plea is

timely, (4) “whether the defendant asserted his innocence,” and (5) “whether the plea

was pursuant to a plea agreement.” United States v. Richardson, 225 F.3d 46, 51 (1st

Cir. 2000) (quoting United States v. Cotal-Crespo, 47 F.3d 1, 3 (1st Cir. 1995) and

United States v. Aker, 181 F.3d 167, 170 (1st Cir. 1999)). The first factor is the most

significant. See United States v. Isom, 580 F.3d 43, 52 (1st Cir. 2009) (collecting

cases). If the “combined weight” of the five factors suggests that there is a fair and

just reason for the defendant to withdraw his guilty plea, a court then considers any

                                           6
Case 2:18-cr-00013-JDL Document 130 Filed 05/26/20 Page 7 of 20          PageID #: 530




prejudice to the government that would be caused by the withdrawal. Gates, 709 F.3d

at 69 (quoting United States v. Doyle, 981 F.2d 591, 594 (1st Cir. 1992)).

      I evaluate each of these factors in determining whether to grant Williams’

request to withdraw his guilty plea. In this case, some factors overlap significantly,

and others are either inapplicable or undisputed by the parties. I therefore focus

primarily on the critical first factor—whether Williams’ plea was knowing, voluntary,

and intelligent—which is disputed by the parties.

                                  IV. ANALYSIS

A.    Whether the Plea Was Knowing, Voluntary, and Intelligent
      Williams maintains that his plea was not knowing, voluntary, and intelligent

because in pleading guilty, he involuntarily and unknowingly “surrender[ed]” his

opportunity to file a motion to suppress evidence. ECF No. 80 at 3. To demonstrate

that his plea was not knowing, voluntary, and intelligent, Williams must establish

either that the district court judge who accepted his plea failed to satisfy the

requirements of Fed. R. Crim. P. 11(b), see United States v. Kobrosky, 711 F.2d 449,

455 (1st Cir. 1983), or that he received ineffective assistance of counsel, see United

States v. Gonzalez-Arias, 946 F.3d 17, 28−29 (1st Cir. 2019). Williams concedes that

the plea colloquy at his change of plea hearing satisfied Rule 11(b). I have reviewed

the transcript of the change of plea hearing and independently reach the same

conclusion. Thus, I focus on the second method, and Williams’ central argument: that

his attorneys’ ineffective assistance prevented him from knowingly, voluntarily, and

intelligently pleading guilty.



                                          7
Case 2:18-cr-00013-JDL Document 130 Filed 05/26/20 Page 8 of 20                        PageID #: 531




        A defendant contending that his or her counsel was ineffective must meet the

two familiar Strickland prongs: “that counsel’s performance fell below an objective

threshold of reasonable care and that this deficient performance prejudiced him.”

Caramadre, 807 F.3d at 371 (citing Turner v. United States, 699 F.3d 578, 584 (1st

Cir. 2012) and Strickland v. Washington, 466 U.S. 668, 687 (1984)). In the plea-

withdrawal setting, “the prejudice element requires a showing of ‘a reasonable

probability that, but for counsel’s errors, [the defendant] would not have pleaded

guilty and would have insisted on going to trial.’” Id. (quoting Moreno–Espada v.

United States, 666 F.3d 60, 64 (1st Cir. 2012)).

       Williams contends that his lawyers were ineffective because they (1) failed to

file a motion to suppress the evidence seized at the traffic stop leading to Williams’

arrest; (2) failed to apprise Williams of the deadline for filing such a motion and failed

to inform him when it lapsed; and (3) failed to show Williams the dashcam footage of

the stop before the filing deadline had passed.

       1. Counsel’s Failure to File a Motion to Suppress

       Williams argues that his counsel were ineffective because they failed to file a

motion to suppress evidence obtained at the traffic stop. 3 Williams contends that a

motion to suppress could have succeeded because the traffic stop and his subsequent

arrest were unlawful.         Because Williams maintains that a successful motion to


 3 I reiterate that neither Williams nor the Government introduced the dashcam footage or called the
trooper as a witness at the evidentiary hearings, and therefore my findings as to what transpired
surrounding Williams’ arrest derives from the trooper’s report and the sworn testimony of Williams’
former attorneys. Their testimony as to their evaluation and determination of the facts underlying
Williams’ arrest was not seriously called into question. To the extent any of Williams’ testimony
conflicted with that of Attorney McKenna or Attorney Fairfield, I specifically find the latter witnesses
more credible based on my evaluation of each witness’s demeanor and veracity.

                                                   8
Case 2:18-cr-00013-JDL Document 130 Filed 05/26/20 Page 9 of 20             PageID #: 532




suppress on either of these bases would have rendered all of the Government’s

evidence against him inadmissible, he argues that he would not have pleaded guilty

if his counsel had filed a motion to suppress.

          a. Prejudice

      I address each potential basis for suppression in turn, focusing first on whether

Williams has demonstrated prejudice by his attorneys’ failure to file a motion to

suppress, or, in other words, whether there is a reasonable probability that he would

not have pleaded guilty if they had. I then separately discuss whether counsel

performed deficiently.

             i. The Reason for the Stop of the Vehicle

      Williams first contends that his attorneys should have filed a motion to

suppress because the trooper had no grounds to conduct a traffic stop, and therefore

any evidence obtained as a result of the stop should have been suppressed. However,

“[a]n officer can stop a car if he sees a driver commit a traffic offense, even if the stop

is just an excuse to investigate something else.” United States v. McGregor, 650 F.3d

813, 820 (1st Cir. 2011). As previously explained, the trooper observed that Williams’

vehicle was speeding and driving too closely to other vehicles. Williams subsequently

pulled his vehicle over and parked it at a toll plaza, and the trooper who was following

him then turned on his blue lights.

      Williams argues that the dashcam footage was deceptively spliced to make it

appear as if he were committing traffic violations, but Williams did not offer the video

or present any other evidence at the evidentiary hearings that would call into



                                            9
Case 2:18-cr-00013-JDL Document 130 Filed 05/26/20 Page 10 of 20                        PageID #: 533




question the trooper’s conclusion that Williams’ car was speeding.                         Moreover,

Attorney Fairfield testified that she “fully exhausted and vetted” Williams’ claim that

the video was altered and concluded that the claim was without merit. 4 Putting aside

the dashcam video, the trooper reported that based upon radar, Williams’ vehicle was

traveling nine miles per hour over the posted speed limit. Attorney McKenna also

testified that, in his judgment, the evidence demonstrated that Williams had been

speeding.

        Because the evidence unquestionably establishes that the traffic stop was

supported by the trooper’s observations of traffic violations, Williams has not

demonstrated that his counsel’s failure to challenge the lawfulness of the stop by

filing a motion to suppress was prejudicial.

               ii. The Reason for Williams’ Arrest

        Williams next contends that he was prejudiced by his attorneys’ failure to

challenge his arrest, and the evidence obtained following it, through a motion to

suppress. Specifically, Williams asserts that the trooper did not have probable cause

to arrest him for violating an out-of-state protective order because the trooper did not

first determine whether Williams’ conduct was specifically prohibited by the

protective order. Williams maintains that, on the contrary, the information available

to the officer indicated that the protective order had been modified and that Williams


 4  Attorney Fairfield testified that she thought Williams’ desire to have the video examined to
determine whether it had been altered was “outlandish.” She nonetheless proposed to Williams that
she would have someone with technical expertise review the footage, but Williams declined, insisting
that Attorney Fairfield hire a person from the dashcam company itself. “[S]everal First Circuit cases
have upheld counsel’s right to ignore frivolous claims pressed by clients.” United States v. Hart, 933
F.2d 80, 83 (1st Cir. 1991). Accordingly, I find that counsel was not ineffective by rejecting Williams’
request here.

                                                  10
Case 2:18-cr-00013-JDL Document 130 Filed 05/26/20 Page 11 of 20         PageID #: 534




and the passenger had told the trooper that the protective order had been rescinded.

Williams further asserts that the arrest was not supported by probable cause because

it was motivated by the trooper’s desire to search the vehicle rather than a legitimate

law enforcement objective.

      Even assuming that the trooper’s failure to determine the terms of the

protective order negates probable cause—a question I do not decide—Williams would

only be able to establish prejudice based on his attorneys’ failure to file a motion to

suppress on this basis if the unlawful arrest could justify suppression of the evidence

against him. However, as I will explain, suppression would not be warranted under

these circumstances because the trooper inevitably would have discovered the same

evidence through independent, legal means. See United States v. Almeida, 434 F.3d

25, 28 (1st Cir. 2006) (citing Nix v. Williams, 467 U.S. 431, 444 (1984) and United

States v. Pardu, 385 F.3d 101, 106 (1st Cir. 2004)).

      An officer violates the Constitution’s protection against unreasonable seizures

during a lawful traffic stop if he or she exceeds the time necessary to handle the

matter for which the stop was made. See Rodriguez v. United States, 575 U.S. 348,

350 (2015). However, “while an officer’s actions must bear some relation to the

purpose of the original stop, he may shift his focus and increase the scope of his

investigation by degrees if his suspicions mount during the course of the detention.”

United States v. Chhien, 266 F.3d 1, 6 (1st Cir. 2001) (citing United States v. Sowers,

136 F.3d 24, 27 (1st Cir. 1998)). Here, the trooper plainly had reason to prolong

Williams’ stop based on his understanding that Williams and the passenger were



                                          11
Case 2:18-cr-00013-JDL Document 130 Filed 05/26/20 Page 12 of 20            PageID #: 535




named parties to a protective order and his knowledge that protective orders

generally prohibit direct contact between the parties named on it.

      The trooper learned the identities of Williams and his passenger after speaking

with them, and “police requests for identifying information typically do not trigger

Fourth Amendment concerns.” United States v. Fernandez, 600 F.3d 56, 60 (1st Cir.

2010) (citing Hiibel v. Sixth Judicial Dist. Court, 542 U.S. 177, 185 (2004)). Next, the

trooper transmitted an inquiry regarding Williams and learned that there was a

protective order involving him and his passenger. It is appropriate practice for an

officer conducting a traffic stop to determine whether there are any outstanding

warrants against the driver. See Rodriguez, 575 U.S. at 349. Furthermore, under

Maine law, it is a crime for an individual to violate “[a] temporary, emergency, interim

or final protective order . . . or a similar order issued by . . . another state” when the

individual has had prior notice of the order. 19-A M.R.S.A. § 4011(1)(A) (West 2020);

see also State v. Blum, 187 A.3d 566, 575 (Me. 2018).

      Although the information that the trooper received did not reveal the specific

protections ordered by the protective order, the trooper understood, based on his

experience, that protective orders typically prohibit physical contact between the

subjects of the order. And an officer “may rely on probabilities in the reasonable

suspicion context.” Kansas v. Glover, 140 S. Ct. 1183, 1190 (2020) (finding reasonable

suspicion to initiate traffic stop based on knowledge that the registered owner of a

vehicle had a suspended license and on an inference that the current driver was the




                                           12
Case 2:18-cr-00013-JDL Document 130 Filed 05/26/20 Page 13 of 20                        PageID #: 536




registered owner). 5       Although Williams argues that both he and his passenger

informed the trooper that the protective order had been rescinded, until the trooper

could learn more, the trooper was not bound to accept these claims as true. See

United States v. Arvizu, 534 U.S. 266, 277 (2002) (“A determination that reasonable

suspicion exists . . . need not rule out the possibility of innocent conduct.”).

       Thus, even if the trooper did not have probable cause to arrest Williams, the

trooper had reasonable suspicion sufficient to detain Williams for a reasonable

amount of time until the trooper could obtain further information about the protective

order’s restrictions. See United States v. Tiru-Plaza, 766 F.3d 111, 117 (1st Cir. 2014);

see also 19-A M.R.S.A. § 4011(3) (“The law enforcement officer may verify, if

necessary, the existence of a protective order by telephone or radio communication

with a law enforcement agency with knowledge of the order.”). Although there was

no direct evidence presented as to the precise length of time Williams was detained

before the police dog and its handler arrived, Williams has not suggested that the

length of time was unreasonable. Thus, I conclude that the trooper’s reasonable

suspicion was sufficient to detain Williams at least until the arrival of the police dog

and its handler. At that point, the dog alerted to the odor of narcotics on the vehicle,

providing probable cause to search it. See United States v. Brown, 500 F.3d 48, 57




 5 Williams also maintains that the trooper improperly arrested him based upon his knowledge of
Maine law, not of Connecticut law where the protective order was issued. However, 19-A M.R.S.A. §
4011(1)(A) clearly makes it a crime for an individual to violate a protective order from another state
and the trooper could rely on the probability that a Connecticut protective order would prohibit contact
between the persons it named.


                                                  13
Case 2:18-cr-00013-JDL Document 130 Filed 05/26/20 Page 14 of 20                      PageID #: 537




(1st Cir. 2007) (“[A] reliable canine sniff outside a vehicle can provide probable cause

to search the vehicle.”). 6

         Accordingly, Williams has not shown that he was prejudiced by his attorneys’

decision not to file a motion to suppress evidence following Williams’ arrest for

violating the protective order. 7

             b. Deficient Performance of Counsel

         Even though Williams has not demonstrated prejudice from his attorneys’

decision not to file a suppression motion, I address the other Strickland prong:

whether counsel’s performance fell below an objective threshold of reasonable care.

Given the weak grounds for seeking exclusion, Attorney McKenna testified that he

felt Williams would be better served in taking what he perceived to be a favorable

plea agreement from the Government than in filing a motion to suppress and

potentially receiving a worse offer from the prosecutor.                  Attorney Fairfield also

relayed to Williams that the terms of the Government’s offer were “extremely

favorable” because Williams’ sentencing guidelines range was “exponentially higher”

than the sentence the Government had indicated it would seek.

         As noted above, the inquiry at this stage concerns the reasonableness of

Williams’ attorneys. “That another lawyer might have taken a different slant is

beside the point; . . . ‘strategic choices made after thorough investigation of law and



 6   Williams has not raised any challenge as to the dog’s reliability.

 7  At the hearing, Williams also suggested that his prior attorneys should have moved to suppress his
responses to questions from the trooper after his “arrest” since he had not been read his Miranda
rights. Williams, however, has not conveyed the content or substance of his statements to the Court.
I thus cannot find prejudice to Williams or ineffectiveness of counsel on this basis.

                                                    14
Case 2:18-cr-00013-JDL Document 130 Filed 05/26/20 Page 15 of 20         PageID #: 538




facts relevant to plausible options are virtually unchallengeable’ in ineffective

assistance litigation.” United States v. Pellerito, 878 F.2d 1535, 1540 (1st Cir. 1989)

(quoting Strickland, 466 U.S. at 690). “‘Effectiveness’ does not require that counsel

jump through every conceivable hoop, or engage in futile exercises.”        Id. Here,

Williams’ attorneys decided not to pursue a motion to suppress based on their

reasonable judgments that the motion had no “legitimate shot” at success and that

the Government’s plea offer was favorable. Id. Thus, Williams’ attorneys were not

deficient in failing to file a motion to suppress.

      2. Counsel’s Failure to Inform the Defendant of the Deadline for
         Pretrial Motions

      Williams next contends that his attorneys were ineffective by not informing

him of the deadline for filing pretrial motions. However, Attorney McKenna testified

that he undertook an extensive evaluation of all of the possible grounds that might

be asserted in a motion to suppress. He met with Williams at the Cumberland County

Jail in the days leading up to the deadline for pretrial motions to discuss with

Williams the possibility of filing such a motion. That testimony was corroborated by

his contemporaneous description of his activities contained in his billing logs.

Attorney Fairfield testified that she spoke with Attorney McKenna regularly about

the case and learned from him that Williams knew of the deadline.            Although

Attorney Fairfield did not have a specific recollection of her own conversation with

Williams about the deadline, she testified that she was “sure [they] talked about

that.” She testified that if she had determined that there was a good reason to file a

motion to suppress after the deadline passed, she “absolutely” would have asked for


                                            15
Case 2:18-cr-00013-JDL Document 130 Filed 05/26/20 Page 16 of 20          PageID #: 539




an extension of time to file one and “fallen on [her] sword” if necessary. She also

testified that she had explained this point to Williams. Based on this evidence, I find

that Williams’ attorneys informed him of the legal issues surrounding any potential

suppression motion as well as the deadline for filing it.

      The evidence also shows that Williams struggled to finalize his decisions at

critical junctures in his case and would frequently change his mind. The indecision

Williams experienced is understandable given the difficult choices he faced, and “[i]t

is human nature for defendants to wonder what would have happened if they had put

the Government to its proof and later to rue their decisions to plead guilty.” United

States v. Leland, 370 F. Supp. 2d 337, 343 (D. Me. 2005), aff’d, 196 F. App’x 9 (1st

Cir. 2006). But Williams’ doubts do not render the assistance provided by counsel

ineffective, and they are not reasons to undo an otherwise valid guilty plea. See id.

at 343−44.

      Thus, based on all the evidence before me, I conclude that Williams’ attorneys

were not deficient in relaying the deadline for filing pretrial motions. Moreover, as

explained above, Williams has not demonstrated prejudice from his attorneys’

decision not to file a motion to suppress. Accordingly, even if Williams’ attorneys

failed to relay the filing deadline and were ineffective in doing so, Williams would not

have been prejudiced.

      3. Counsel’s Failure to Show the Defendant Certain Discovery

      Williams next asserts that his attorneys were ineffective because they

unreasonably delayed showing him the dashcam footage of the stop as he specifically



                                          16
Case 2:18-cr-00013-JDL Document 130 Filed 05/26/20 Page 17 of 20             PageID #: 540




requested. On June 14, 2018, Attorney McKenna sent Williams a letter stating that

he would work on a way for Williams to view the dashcam video of the stop at the

Cumberland County Jail. Williams was not shown the video until six months later,

on January 22 and 23, 2019. Both Attorney McKenna and Attorney Fairfield testified

that it is not difficult to arrange to show an incarcerated client a video at the jail, and

they offered no explanation for their failure to show Williams the video sooner.

      I need not opine on whether the delay in showing Williams the dashcam video

amounted to constitutionally deficient representation, because Williams has failed to

show the requisite prejudice required for relief. See Gonzalez-Arias, 946 F.3d at 28–

29 (finding no prejudice based on defendant’s claim that his counsel failed to show

him video and audio evidence before the government’s plea offer lapsed). Williams

did not introduce the video at the evidentiary hearing on his motion to withdraw his

guilty plea, and he has not provided any plausible explanation as to how it might

have changed his decision to plead guilty. To the extent Williams maintains that it

would have formed the basis for a motion to suppress, as I have already addressed,

Williams has not demonstrated prejudice from the absence of a motion to suppress

based on the video’s contents, and it follows that his attorneys’ delay in showing him

the video did not, in and of itself, cause prejudice. Moreover, although Williams first

saw the video after the deadline for pretrial motions had passed, Williams’ attorneys

had discussed its contents with him at length, and Williams viewed the video prior to

his guilty plea. Accordingly, Williams has not demonstrated prejudice resulting from

his attorneys’ delay in showing him the dashcam footage.



                                            17
Case 2:18-cr-00013-JDL Document 130 Filed 05/26/20 Page 18 of 20          PageID #: 541




       Because Williams has not shown that he was prejudiced by his attorneys’

performance, I conclude that he did not receive ineffective assistance of counsel.

Accordingly, I find that he entered his guilty plea knowingly, intelligently, and

voluntarily. Thus, the first factor of the “fair and just reason” analysis prescribed by

the First Circuit weighs against permitting Williams to withdraw his guilty plea.

B.     The Force of Defendant’s Reason for the Change of Plea

       I turn now to the second factor of the “fair and just reason” analysis: the

plausibility of the defendant’s reason for requesting withdrawal. Because Williams’

arguments as to the strength of his reasons for withdrawing his guilty plea mirror

those from the first factor, my analysis as to this second factor is the same.

Accordingly, I conclude that the second factor cuts against granting the relief

Williams seeks. See United States v. Goguen, No. 1:11-cr-00003-JAW, 2019 WL

4246676, at *18 n.5 (D. Me. Sept. 6, 2019) (rejecting arguments under second factor

that duplicated those rejected under first factor); United States v. Fernández-Santos,

856 F.3d 10, 15−18 (1st Cir. 2017) (addressing the first two plea withdrawal factors

jointly).

C.     The Timing of the Motion

       As to the third factor, the Government concedes that, given the history of the

case and the appointment of substitute counsel, the timing of Williams’ motion was

reasonable. This factor, therefore, weighs in Williams’ favor.

D.     Assertion of Innocence
       With respect to the fourth factor, courts “look more hospitably on a motion to

withdraw a guilty plea when the motion is coupled with an assertion of innocence.”
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Case 2:18-cr-00013-JDL Document 130 Filed 05/26/20 Page 19 of 20          PageID #: 542




Doyle, 981 F.2d at 596. Conversely, the absence of an assertion of innocence weighs

against a defendant. Id. In this context, a defendant “must put forward ‘factual

contentions’ that create a ‘legally cognizable defense’ to the charges.” Fernández-

Santos, 856 F.3d at 19 (quoting United States v. Ramos, 810 F.2d 308, 312 (1st Cir.

1987)). But “[m]erely voicing a claim of innocence” carries no weight; “the claim must

be credible.” Gates, 709 F.3d at 69 (citing United States v. Sanchez–Barreto, 93 F.3d

17, 24 (1st Cir. 1996)). Indeed, “[t]here are few if any criminal cases where the

defendant cannot devise some theory or story which, if believed . . ., would result in

his acquittal.” Kobrosky, 711 F.2d at 455 (alteration in original) (quoting Nunez

Cordero v. United States, 533 F.2d 723, 726 (1st Cir. 1976)).

      Williams does not claim that he is actually innocent. He does, however, claim

that he is legally innocent because suppression of all the evidence against him is

warranted. I am not persuaded. As made clear by my determination that Williams

was not prejudiced by his attorneys’ decision not to file a motion to suppress, Williams

has not made a plausible assertion of innocence. See United States v. Dunfee, 821

F.3d 120, 131 (1st Cir. 2016). Thus, the fourth factor does not support the relief

Williams seeks.

E.    Plea Agreement Entered Into and Breached

      Because Williams did not enter a plea agreement with the Government, the

fifth factor does not apply. See Goguen, 2019 WL 4246676, at *5 n.3.




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Case 2:18-cr-00013-JDL Document 130 Filed 05/26/20 Page 20 of 20         PageID #: 543




F.    Prejudice to the Government

      Based on the foregoing analysis, I conclude that the collective weight of the

first five factors does not lean in Williams’ favor. Thus, I do not assess whether the

Government would be prejudiced if withdrawal were permitted. See, e.g., id. at *21.

                                V. CONCLUSION
      For the preceding reasons, I conclude that Williams’s guilty plea was knowing,

voluntary, and intelligent, and that Williams has failed to establish a “fair and just

reason” supporting the withdrawal of his guilty plea. It is therefore ORDERED that

Williams’ Motion to Withdraw Guilty Plea (ECF No. 80) is DENIED.

      SO ORDERED.

      Dated this 26th day of May, 2020.


                                                     /s/ JON D. LEVY
                                               CHIEF U.S. DISTRICT JUDGE




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